         Case 1:20-cv-00632-CG Document 14 Filed 09/25/20 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

KRISTA VIGIL,

                     Plaintiff,

v.                                                             No. CV 20-632 CG

ANDREW M. SAUL,
Commissioner of the
Social Security Administration,

                     Defendant.

       ORDER GRANTING UNOPPOSED MOTION TO EXTEND TIME TO FILE
                       ADMINISTRATIVE RECORD

       THIS MATTER is before the Court on Defendant Commissioner Andrew Saul’s

Motion for Extension of Time to File the Electronic Certified Administrative Record and

Answer to Plaintiff’s Complaint (the “Motion”), (Doc. 13), filed September 25, 2020. The

Court, having reviewed the Motion and noting it is unopposed, finds the Motion is well-

taken and shall be GRANTED.

       IT IS THEREFORE ORDERED that Defendant shall have until November 25,

2020, to file the Electronic Certified Administrative Record and Answer to Plaintiff’s

Complaint. If in 60 days the electronic certified administrative record is not prepared, the

Commissioner will file a status report with the Court as to when he expects the

administrative record to be completed.

       IT IS SO ORDERED.


                                   THE HONORABLE CARMEN E. GARZA
                                   CHIEF UNITED STATES MAGISTRATE JUDGE
